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                       UNITED STATES DISTRICT COURT

                          DISTRICT OF CONNECTICUT



UNITED STATES OF AMERICA

v.                                             Case No. 3:06 cr 268 (PCD)

BENIGNO MALAVE


                              ORDER TO SHOW CAUSE

      The Defendant, Benigno Malave, moves for Retroactive Application of Sentencing

Guidelines to Crack Cocaine Offense in accordance with 18 U.S.C. §3582 [Doc. No.1433]

       It is hereby ORDERED, that the Government show cause on or before February

26, 2010, as to why defendant’s sentence should not be reduced.

      SO ORDERED.

      Dated at New Haven, Connecticut, February 4, 2010.



                                   /s/
                                         Peter C. Dorsey Senior
                                         United States District Judge
